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                                       No. 23-12313
                    UNITED STATES COURT OF APPEALS
                      FOR THE ELEVENTH CIRCUIT
                              HISPANIC FEDERATION, et al.,
                                                    Plaintiffs-Appellees,
                                               v.
                                    CORD BYRD, et al.,
                                                    Defendants-Appellants.

      Appeal from the U.S. District Court for the Northern District of Florida,
                          No. 4:23-cv-218 (Walker, C.J.)


                          APPELLANTS’ INITIAL BRIEF

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                   Hispanic Federation, et al. v Cord Byrd, et al.
                                 No. 23-12313
             CERTIFICATE OF INTERESTED PERSONS AND
               CORPORATE DISCLOSURE STATEMENT

Per Rule 26.1 and Circuit Rule 26.1, Defendants-Appellants certify that the following
have an interest in the outcome of this case:
      1.     Alicea, Delmarie, Counsel for Plaintiffs

      2.     Beato, Michael, Counsel for Defendant

      3.     Bell, Daniel, Counsel for Defendant

      4.     Byrd, Cord, Defendant

      5.     Campbell-Harris, Dayton, Counsel for Plaintiffs

      6.     Chappell, W. David, Counsel for Defendant

      7.     Cruz, Roberto, Counsel for Plaintiffs

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      9.     Davis, Ashley, Counsel for Defendant

      10.    Derieux, Adriel, Counsel for Plaintiffs

      11.    Doe, A, Plaintiff

      12.    Doe, B, Plaintiff

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      14.    Ellis, Rayne, Counsel for Plaintiffs

      15.    Herrera-Lucha, Veronica, Plaintiff

      16.    Hispanic Federation, Plaintiff

      17.    Jazil, Mohammad, Counsel for Defendant

      18.    Karpatkin, Jeremy, Counsel for Plaintiffs
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                                No. 23-12313
    19.   Keenan, Megan, Counsel for Plaintiffs

    20.   Konor, Estee, Counsel for Plaintiffs

    21.   Lakin, Sophia, Counsel for Plaintiffs

    22.   Martinez, Norka, Plaintiff

    23.   McVay, Bradley R., Counsel for Defendant

    24.   Moody, Ashley, Defendant

    25.   Morse Stephanie, Counsel for Defendant

    26.   Poder Latinx, Plaintiff

    27.   Pratt, Joshua, Counsel for Defendant

    28.   Preminger, Evan, Counsel for Plaintiffs

    29.   Ruiz, Cesar, Counsel for Plaintiffs

    30.   Sjostrom, Noah, Counsel for Defendant

    31.   Tilley, Daniel, Counsel for Plaintiffs

    32.   Van De Bogart, Joseph, Counsel for Defendant

    33.   Walker, Mark E., U.S. District Court Judge

    34.   Warren, Nicholas, Counsel for Plaintiffs

    35.   Whitaker, Henry, Counsel for Defendant




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                       Hispanic Federation, et al. v Cord Byrd, et al.
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      Per Circuit Rule 26.1-2(c), Defendants-Appellants certify that the CIP con-

tained herein is complete.

Dated: August 21, 2023
 /s/ Mohammad O. Jazil                      /s/ Henry C. Whitaker
 Counsel for Defendant-Appellant Secre-     Counsel for Defendant-Appellant Attor-
 tary of State Byrd                         ney General Moody




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               STATEMENT REGARDING ORAL ARGUMENT

       This appeal of a preliminary injunction raises significant constitutional questions,

namely, the application of the Equal Protection Clause of the Fourteenth Amendment

to a State’s regulation of its electoral process and the contours of the void for vagueness

doctrine. Both questions require this Court to draw important lines that impact the State

Legislatures within the Circuit. Plaintiffs-Appellants respectfully maintain that oral ar-

gument would materially assist the Court in this case. FED. R. APP. P. 34(a).




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                                   INTRODUCTION

       Late-returned applications, questionable hiring practices, and felony charges for

the fraudulent use of personal information. These are just some of the complaints with

third-party voter registration groups (“3PVROs”). The Florida Legislature enacted re-

forms directed at these groups. Chief Judge Walker preliminarily enjoined two of those

reforms. The first prohibits non-citizens from “collecting or handling” voter registra-

tion applications. Fla. Stat. § 97.0575(1)(f). The second makes it a felony to retain “a

voter’s personal information.” Id. § 97.0575(7). Both are facially constitutional.

       The citizenship provision undoubtedly passes the rational basis test when applied

to illegal aliens, student visa holders, temporary workers, asylum seekers, and other non-

resident aliens collecting and handling time-sensitive voter registration applications. For

resident aliens, the political function exception applies, thereby triggering rational basis

review, because the State is exercising its prerogative to say that only a citizen can

“serve[] as a fiduciary” for another citizen registering to vote. Id. § 97.0575(1)(f), (5)(a).

       Nor can Plaintiffs show that the retention provision lacks an understandable

core. That provision prohibits a person “collecting” applications for a 3PVRO from

retaining “a voter’s personal information, such as the voter’s Florida driver license num-

ber, Florida identification card number, social security number, or signature.” Id.

§ 97.0575(7). This personal information, exempt from Florida’s otherwise broad public

records laws, is private and should be protected. There’s nothing vague about that.

       The district court thus erred. Its decision should be reversed.
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                        JURISDICTIONAL STATEMENT

      This Court has jurisdiction under 28 U.S.C. § 1292(a). The district court issued

its preliminary injunction orders on July 3, 2023. Doc.101 (Case No.215); Doc.68 (Case

No.218). Timely notices of appeal were filed on July 11, 2023. Doc.102 (Case No.215);

Doc.71 (Case No.218). This Court has jurisdiction to consider the appeal.

                          STATEMENT OF THE ISSUES

      On appeal, this Court must decide the following issues:

      1.     Whether Florida’s decision to limit the “collecting or handling” of “voter

registration applications on behalf of a third-party voter registration organization” to “a

citizen of the United States of America” violates, on its face, the Equal Protection

Clause of the Fourteenth Amendment. Fla. Stat. § 97.0575(1)(f).

      2.     Whether it’s unconstitutionally vague, on its face, to prohibit “a person

collecting voter registration applications on behalf of a third-party voter registration

organization” to “cop[y] a voter application” or “retain[] a voter’s personal information,

such as the voter’s Florida’s driver license number, Florida identification card number,

social security number, or signature” for a purpose “other than to provide such appli-

cation or information to the third-party voter registration organization in compliance”

with § 97.0575 of the Florida Statutes. Id. § 97.0575(7).

                           STATEMENT OF THE CASE

      I.     The Trouble with 3PVROs

      “In recent decades, the Florida Legislature has amended the election code to
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make voting more convenient for eligible voters.” League of Women Voters v. Byrd, 66

F.4th 905, 919 (11th Cir. 2023). Floridians can register to vote through an online portal,

the federal postcard application, or by picking up blank forms available at their local

supervisor of elections office, libraries, and even the local Walmart. Fla. Stat.

§§ 97.052(1)(b), 97.052, 97.053, 97.057, 97.0575, 97.058, 97.0583, 97.05831. Registered

3PVROs can also help applicants fill out the state form, Fla. Stat. §§ 97.0575(1), (3),

though 3PVROs must then deliver every form in their possession to the Division of

Elections or the requisite Supervisor of Elections “within 10 days after” it’s completed

or before “registration closes for the next ensuing election,” whichever is sooner. Id.

§ 97.0575(5)(a).

       Timing is critical. If a 3PVRO misses the deadline and registration closes for the

next ensuing election, then the applicant can’t vote in that election. Id. § 97.053(2); see

also id. § 97.055 (establishing registration deadline). In 2022 alone, the Office of Election

Crimes and Security “reviewed approximately 3,077 voter registration applications that

were collected and submitted untimely by 3PVROs.” Doc.92-1 at 93 (Case No.215).1

3PVROs affiliated with the Republican Party, the Democratic Party, and Plaintiffs were

fined for late-delivered forms. Doc.92-1 at 377-79 (Poder Latinx), 383 (Democratic

Party), 384-85 (Republican Party), 401-03 (Mi Familia Vota), 407-09 (Alianza), 410-12



       The pin citations throughout this brief refer to the page number generated by
       1

CM/ECF and reflected on the top right of the page. Citations are also to the docket in
Case No. 215, the lower numbered case, unless otherwise specified.
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(UnidosUS), 415-17 (Harriet Tubman).

       One group—Hard Knocks—received “four total letters” “in less than one year”

with its actions “hav[ing] caused harm to 2,911 voter registrants.” Doc.92-1 at 365-66.

Fines in two of the four letters totaled $33,400 but “could have been as high as $191,500

but for a statutory cap.” Id. at 365. With the statutory caps, the fines across the four

letters totaled a little over $45,000. Id. at 365-68; see also Doc.92-3 at 133-35. And the

fines were assessed for harms that included the untimely submission of applications and

much worse. See Doc.92-1 at 365-66.

       A local state attorney’s investigation found that Hard Knocks “conducts no or

limited background checks” for workers “who are asked to handle sensitive infor-

mation,” Doc.92-1 at 487, such as the “full name, date of birth, the last four digits of

[one’s] social security number, and a signature.” Id. at 483-84. Workers with access to

sensitive information included “a fifteen-time convicted felon” who “was out on bond

on two cases.” Id. at 487. Some workers “use[d] the personal identity information” sup-

plied by an acquaintance to “fraudulent[ly] fill out and later submit applications.” Id.

The investigations ultimately resulted in charges being brought against multiple individ-

uals. See Doc. 92-3 at 134. For example, the state attorney’s office charged one worker,

Roderica Cody, with the willful submission of false voter registration information and

the criminal use of personal identification information. Doc.92-1 at 473. Both charges

are third-degree felonies under Florida law. Id. (referencing §§ 104.011(2), 817.568(2)(a)

of the Florida Statutes).
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       Hard Knocks isn’t alone. Among others, the Department of State referred to the

state attorney’s office a fraud complaint against Royal Shepherd. Doc.92-1 at 433. Mr.

Shepherd was collecting voter registration applications on behalf of two 3PVROs, the

Florida Democratic Party and Florida Rising Together. Id. The referral was based on

information compiled by the Leon County Supervisor of Elections, Mark Earley, whose

office stated that Mr. Shepherd “submitted 1,460 forms” to them “between

01/08/2022 and 04/07/2022.” Id. at 437. Supervisor Earley “suspected” that the ap-

plications were “fraudulent” based on a comparison of personal information on the

forms with that on file with his office. Id. at 438-41. For example, a voter named

Brittnay Wright’s name was “slightly off,” there was a “new phone number,” her social

security number was “one digit off,” and her “street name [was] wrong.” Id. at 438. The

signatures didn’t match for voters Dee Dawson and Danielle Milledge. Id. at 439-440.

And the social security numbers didn’t match for several voters. Id. at 441.

       3PVROs have even collected forms for deceased voters. Complaints about de-

ceased registrants came from election officials in north Florida, id. at 442, south Florida,

id. at 453, and central Florida, id. at 462. And, again, a comparison of personal infor-

mation on file with the election officials, such as a voter’s signature, was used to identify

and investigate the fraud. Id. at 464.

       The Department of State shared 3PVRO-related information with the Florida

Legislature. The Department did so before the 2023 legislative session consistent with

its statutory duty and past practice. See generally Fla. Stat. § 97.022(7) (imposing statutory
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duty); Doc.92-1 at 92-93 (noting compliance with duty); id. at 99-362 (report).

       II.    Florida’s 2023 Legislative Reforms

       It’s no surprise then that 3PVROs were the subject of Florida’s most recent

changes to its election code. But 3PVROs weren’t the only subject.

       The bill that became SB7050 was, as in years past, an omnibus election reform

package that builds on the State’s hard-earned success in administering elections. Ch.

2023-120, pp. 1-5, Laws of Fla. (summarizing the amended provisions),

http://laws.flrules.org/2023/120. SB7050’s various sections addressed everything

from signature-match training, id. § 1, and the need for updated precinct information

on voter registration cards, id. § 5, to ethics reforms, id. § 15, 43, and closing the “ghost

candidate” loophole in primary and general elections, id. § 23.

       Concerning 3PVROs, SB7050’s sponsor explained that “[i]n every election cycle,

there are issues with certain actors within these organizations.” Fla. S. Floor, Debate

Regarding SB 7050 – Part 2, at 1:43:18-1:43:53 (April 26, 2023) (Bill Sponsor Senator

Burgess), https://thefloridachannel.org/videos/4-26-23-senate-session-part-2/. Be-

cause “voting is a sacred part of our democracy,” the “bill holds those who are custo-

dians of a person’s access to voting to a very high standard.” Id. It does so by requiring

3PVROs to re-register every election cycle, affirm that certain felons aren’t “collecting

or handling applications,” affirm that only citizens are “collecting or handling applica-

tions,” provide a receipt to those using the 3PVROs, pay higher fines for noncompli-

ance with the statute, and collect or retain personal information only to help someone
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register to vote. See Ch. 2023-120, § 4, Laws of Fla. And it does so consistent with

Florida’s nearly two-decade-old stance that every “third-party voter registration organ-

ization that collects voter registration applications serves as a fiduciary to the applicant.”

Fla. Stat. § 97.0575(5)(a); see Ch. 2005-277, Laws of Fla. (adding provision).2

       “A fiduciary relation exists between two persons” under Florida law “when one

of them is under a duty to act for or give advice for the benefit of another upon matters

within the scope of that relation.” Doe v. Evans, 814 So. 2d 370, 374 (Fla. 2002) (citations

omitted). Just as with the fiduciary relationship a broker owes to an investor (Fla. Stat.

§§ 474.01, 474.278), a corporate director owes to a shareholder (Fla. Stat. § 607.0830),

or a guardian owes to a ward (Fla. Stat. § 744.446), a 3PVRO “is forbidden to take an

unfair personal advantage of the opportunities of [its] position in the use of things en-

trusted to [it] in the capacity of a fiduciary.” Charles W. Virgin Ins. Agency, Inc. v. Ala. Gen.

Ins. Co., 114 So. 2d 524, 526 (Fla. 1st DCA 1959). Nor can a 3PVRO “proceed without


       2
         3PVROs are themselves of recent vintage; prior to 1995, only state officials and
individuals deputized by supervisors of elections as registrars could collect voter regis-
tration applications in Florida. Compare Fla. Stat. § 98.111(3) (1994) (requiring most in-
dividuals seeking to register to vote to take an oath and sign an affidavit before “the
supervisor of elections, a deputy supervisor, or a voluntary deputy voter registrar”), and
Fla. Stat. § 98.271(2)(a) (1994) (“The supervisor of elections may appoint as a volunteer
deputy voter registrar, for the purpose of registering voters and accepting changes in
registration, any registered elector of the state who resides in or is employed in the
county, who seeks such appointment, and who completes a training session” and who
“before entering office” “make[s] an oath in writing that he will faithfully perform the
duties of his office”), with Ch. 94-224, § 10, Laws of Fla. (transferring and renumbering
§ 98.111 as § 97.052 and amending § 97.052, among other things, to require the De-
partment to distribute voter registration applications, upon request, to “[i]ndividuals or
groups conducting voter registration programs”), and id. at § 42 (repealing § 98.271).
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or beyond [its] authority.” Poe & Assocs. v. Estate of Vogler, 559 So. 2d 1235, 1236 (Fla.

3d DCA 1990) (citations omitted). The alpha and the omega of a 3PVRO’s authority is

to take the steps necessary to deliver a prospective voter’s registration application—the

thing entrusted to it—to the relevant election official in time for that prospective voter

to get on the voter rolls and cast a ballot. That’s it.

       III.   Florida’s 2023 Rulemaking

       The Department began and is in the process of finalizing rulemaking to imple-

ment SB7050. Among other things, the Department has rulemaking authority under

Florida law “to administer the provisions of law conferring duties upon the depart-

ment,” Fla. Stat. § 20.10(3), “obtain and maintain uniformity in the interpretation and

implementation of the election laws,” id. § 97.012(1), provide “uniform standards for

the” “registration laws,” id. § 97.012(2), prescribe rules furthering its duty to “[c]onduct

preliminary investigations into any irregularities or fraud involving voter registration,”

id. § 97.012(15), and to oversee the 3PVRO process, id. § 97.0575(1), (2), (5). SB7050

itself mandates that the Department “adopt by rule a uniform format for the receipt”

that 3PVROs “shall provide a receipt to an applicant upon accepting possession of his

or her application.” Fla. Stat. § 97.0575(4). That rulemaking must be complete “by Oc-

tober 1, 2023.” Id. So said the Florida Legislature.

       The receipt form is part of the Department’s proposed changes to the pre-exist-

ing rule directed at 3PVROs. Fla. Admin. Code 1S-2.042(2)(f). The proposed rule lan-

guage also creates forms requiring those working for a 3PVRO to affirm that they are
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citizens of the United States and have not been convicted of the disqualifying felonies.

Id. 1S-2.042(2)(e). Collecting these worker-specific forms serves as a safe harbor for the

3PVROs—it shields the 3PVRO from fines assessed for using non-citizens or felons

to collect or handle voter registration forms. Id. 1S-2.042(6)(e). The rule goes on to

define the phrase “[c]ollecting or handling” to mean “physically exercising custody over

voter registration applications containing a voter’s personal information,” not “blank”

forms. Id. 1S-2.042(3)(c). A “[v]oter’s personal information,” in turn, is defined as “a

voter’s private information that is not generally available to the public such as the voter’s

Florida driver’s license number, Florida identification card number, social security num-

ber, or signature.” Id. 1S-2.042(3)(h). Personal information “does not include infor-

mation contained in a voter registration application receipt.” Id. And the rule specifically

says that 3PVROs can keep a copy of the receipt—the one without a voter’s personal

information. Id. 1S-2.042(5)(e).

       IV.    The 2023 Litigation

       Minutes after the Governor of Florida signed SB7050 into law, litigation fol-

lowed. Dozens of Plaintiffs across three consolidated cases challenge a handful of pro-

visions, seeking a preliminary injunction against the citizenship provision, the retention

provision, and the felon provision. This despite SB7050 saying that 3PVROs had to

comply “90 days after the department provide[d] notice to the third-party voter regis-

tration organizations of the requirements” contained in SB7050. Ch. 2023-120, § 4,

Laws of Fla. (renumbering and amending § 97.0575(12) of the Florida Statutes).
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       The district court denied the preliminary injunction concerning the felon provi-

sion, finding that Plaintiffs lacked standing. Doc.46 (Case No.216). The court did,

however, grant a preliminary injunction concerning the citizenship and retention pro-

visions. Doc.68 (Case No.218) and Doc.101 (Case No.215).

       The now enjoined citizenship provision provides:

       (1) Before engaging in any voter registration activities, a third-party voter
           registration organization must register and provide to the division, in
           an electronic format, the following information:
           ...

       (f) An affirmation that each person collecting or handling voter registra-
           tion applications on behalf of the third-party voter registration organ-
           ization is a citizen of the United States of America. A third-party voter
           registration organization is liable for a fine in the amount of $50,000
           for each such person who is not a citizen and is collecting or handling
           voter registration applications on behalf of the third-party voter regis-
           tration organization.

Fla. Stat. § 97.0575(1)(f). The district court agreed with Plaintiffs that “this provision

amounts to a facially discriminatory law in violation of the Equal Protection Clause of

the Fourteenth Amendment, as it impermissibly discriminates based on alienage.”

Doc.101 at 27. The court then applied strict scrutiny to the provision and found the

provision likely to be unconstitutional. Id. at 33-37. It did so even though non-resident

aliens of all kinds fall within the provision’s ambit and after concluding that the political

function exception to strict scrutiny doesn’t apply in this instance. Id. at 28-33.

       The now enjoined retention provision provides that:

       If a person collecting voter registration applications on behalf of a third-
       party voter registration organization copies a voter’s application or retains
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       a voter’s personal information, such as the voter’s Florida driver license
       number, Florida identification card number, social security number, or
       signature, for any reason other than to provide such application or infor-
       mation to the third-party voter registration organization in compliance
       with this section, the person commits a felony of the third degree, pun-
       ishable as provided in s. 775.082, s. 775.083, or s. 775.084.

Fla. Stat. § 97.0575(7). The district court found this provision to likely be unconstitu-

tionally vague because “the Florida Legislature has drafted a criminal statute that con-

templates some individuals retaining some information for some undefined purpose,”

Doc.101 at 49, and the State’s “gloss,” its rulemaking, can’t save the provision. Id. at 44.

       Defendants filed a timely notice of appeal but did not seek a stay of the prelimi-

nary injunction. This is because, for existing 3PVROs, the relevant provision doesn’t

go into effect until September 30, 2023, i.e., 90 days after the July 1, 2023 notice the

Department of State provided to the 3PVROs. See Ch. 2023-120, § 4, Laws of Fla.

(renumbering and amending § 97.0575(12) of the Florida Statutes). That said, a ruling

sooner rather than later is best because any time the State of Florida is enjoined from

enforcing its statutes, the State suffers irreparable harm. Hand v. Scott, 888 F.3d 1206,

1214 (11th Cir. 2018) (the State is “harmed” when it can’t “apply its own laws”); see also

Maryland v. King, 567 U.S. 1301, 1301 (2012) (Roberts, C.J., in chambers) (“Any time a

State is enjoined by a court from effectuating” its laws, “it suffers a form of irreparable

injury.”) (cleaned up).




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                             STANDARD OF REVIEW

      This Court “review[s] the grant of a preliminary injunction for abuse of discre-

tion, reviewing any underlying legal conclusions de novo and any findings of fact for clear

error.” Gonzalez v. Governor of Ga., 978 F.3d 1266, 1270 (11th Cir. 2020). The issues on

appeal are legal conclusions subject to de novo review.

                        SUMMARY OF THE ARGUMENT

       Broadly speaking, nothing in the Equal Protection Clause mandates that states

“obliterate all the distinctions between citizens and aliens” and “depreciate the historic

value of citizenship.” Cabell v. Chavez-Salido, 454 U.S. 432, 439 (1982). With respect to

the citizenship provision’s application to illegal aliens, student visa holders, and anyone

who’s not a permanent resident alien, rational basis clearly applies and is met. People

who might leave the country at any moment should not be responsible for the delivery

of time-sensitive voter-registration applications. For permanent resident aliens, the po-

litical-function exception applies. “[T]he State’s broad power to define its political com-

munity” surely extends to those who would serve as fiduciaries to citizen voters. Id. at

440. The inequities of singling out resident aliens simply aren’t applicable when regis-

tering voters just as they aren’t applicable when teachers and cops are concerned. The

district court thus erred in subjecting the citizenship provision to strict scrutiny and

concluding that the provision is likely to be facially unconstitutional. Doc.101 at 27-37.

      And if a statute is unconstitutionally vague only when it “is utterly devoid of a

standard of conduct so that it simply has no core,” SisterSong Women of Color Reproductive
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Justice Collective v. Gov. of Ga., 40 F.4th 1320, 1327 (11th Cir. 2022) (citations omitted),

then the district court erred in finding the retention-related prohibition is likely to be

unconstitutionally vague. Doc.101 at 38-50. At its core, the provision prohibits some-

one “collecting” applications for a 3PVRO from keeping “personal information”—pri-

vate voter-specific information—“such as the voter’s Florida driver license number”

and “social security number.” Fla. Stat. § 97.0575(7). This core isn’t vague especially

when considered together with Florida’s broad public records laws. The public records

laws exclude from disclosure the same kind of voter-specific personal information at

issue in the retention provision. That voter-specific personal information is also the

kind of hard-to-obtain information that election officials have previously relied on to

spot election fraud.

       This Court should thus reverse the district court’s decision to grant a preliminary

injunction. It should do so expeditiously so that the State of Florida can implement

provisions of its election code.

                                      ARGUMENT

       I.     The citizenship provision is facially constitutional.

       A. Plaintiffs say—and the district court agreed—that the citizenship “provision

amounts to a facially discriminatory law” that “impermissibly discriminates based on

alienage.” Doc.101 at 27 (emphasis added). In 1987, three years after the Supreme Court

decided its last alienage case, the Court said in United States v. Salerno that a “facial chal-

lenge to a legislative Act” requires the challenger to “establish that no set of
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circumstances exists under which the Act would be valid.” 481 U.S. 739, 745 (1987).

Though criticized, see City of Chicago v. Morales, 527 U.S. 41, 55 n.22 (1999) (Stevens, J.,

concurring with two others), and not applied in the context of facial challenges to abor-

tion laws, Planned Parenthood v. Casey, 505 U.S. 833, 895 (1992), Salerno’s no-set-of-cir-

cumstances test still applies in alienage cases. And Plaintiffs can’t pass this “most diffi-

cult” test for facial challenges to Florida’s provision. Salerno, 481 U.S. at 746; see also Am.

Fed. of State, Cnty., & Mun. Emps. Council 79 v. Scott, 717 F.3d 851, 863 (11th Cir. 2013)

(“[T]he strict ‘no set of circumstances’ test is the proper standard for evaluating a facial

challenge.”) (collecting cases).

       Florida’s citizenship provision limits the “collecting or handling” of “voter reg-

istration applications on behalf of a third-party voter registration organization” to “a

citizen of the United States of America.” Fla. Stat. § 97.0575(1)(f). All noncitizens are

excluded from collecting or handling applications regardless of their alienage status.

That includes the illegal alien, the student visa holder, the temporary worker, the asylum

seeker, and anyone else for whom there’s been no “congressional determination to ad-

mit the alien to permanent residence” as a member of “the community.” Foley v. Connelie,

435 U.S. 291, 295 (1978). Yet every time the government excludes a non-permanent

resident from collecting or handling a voter registration application, the government

must only provide a rational basis for that exclusion. See Estrada v. Becker, 917 F.3d 1298,

1310 (11th Cir. 2019) (discussing and analyzing Supreme Court cases); LeClerc v. Webb,

419 F.3d 405, 415 (5th Cir. 2005) (same).
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       Florida has a rational basis, tied to a legitimate purpose, for its exclusion. The

State has a compelling interest in ensuring that the voter registration applications of

every voter are delivered in a timely manner. Putting the applications in the hands of

those with illegal or temporary status, who may leave the country voluntarily or invol-

untarily any day and without warning, increases the odds of a registration application

being delivered after the statutory deadlines—after the date by which a voter must get

on the rolls to cast a ballot in the next election. It follows that the Plaintiffs can’t show

that Florida’s citizenship requirement is unconstitutional in every circumstance, namely

its application to non-permanent residents like illegal aliens. Salerno, 481 U.S. at 746; see

also LeClerc, 419 F.3d at 416 (“The [Supreme] Court has never applied strict scrutiny

review to a state law affecting” alienage classifications such as those for “illegal aliens,

the children of illegal aliens, or nonimmigrant aliens.”); id. at 421 n.50 (“The Louisiana

Bar’s concern that the temporary status of student and H-1B temporary worker visa

holders might frustrate its ability to carry out these functions is legitimate.”).

       B. The district court refused to employ rational basis review for any application

of the statute because that, the court said, would require it to “parse the text” of the

citizen provision “into two subgroups to determine the applicable standard of review.”

Doc.101 at 28. The court reasoned that the statutory text limits the “collecting or han-

dling” of “voter registration applications” to “citizen of the United States,” Fla. Stat.

§ 97.0575(1)(f), “noncitizens” include permanent resident aliens, and so strict scrutiny

applies, proving fatal for the Florida provision. Doc.101 at 28.
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       The analysis isn’t quite so simple. Any statute that makes a distinction based on

race—regardless of a specific race—triggers strict scrutiny. E.g., Parents Involved in Cmty.

Sch. v. Seattle Sch. Dist. No. 1, 551 U.S. 701, 720 (2007). Any statute that “makes explicit

and deliberate distinctions between different religious organizations” also triggers strict

scrutiny. Larson v. Valente, 456 U.S. 228, 246 n.23 (1982). And any distinction based on

sex—whether it benefits men or women—triggers intermediate scrutiny. E.g., United

States v. Virginia, 518 U.S. 515, 555 (1996). For Salerno’s no-set-of-circumstances test,

that means strict scrutiny applies to any facial classifications based on race and religion,

and intermediate scrutiny applies to any facial classifications based on sex.

       Alienage is different, however. Unlike race, religion, or sex, the level of scrutiny

ebbs and flows based on the kind of alien; rational basis applies for all but the perma-

nent resident aliens. See Estrada, 917 F.3d at 1310 (illegal aliens); LeClerc, 419 at 415

(temporary workers and students). Choosing one, and only one, level of scrutiny for

Salerno’s no-set-of-circumstances test isn’t appropriate when a statute speaks in terms

of citizens and noncitizens.3 Rational basis applies to most subcategories of noncitizens

(like illegal aliens, student visa holders, and asylum seekers) and strict scrutiny usually

applies to one subcategory of noncitizens (the permanent resident alien). On its face,

then, a statute with a citizen-noncitizen distinction can pass the rational-basis test.



       3
        The task is easier if a statute were to specifically state that permanent residents
cannot do something or to limit its reach to illegal aliens only. See, e.g., Estrada, 917 F.3d
at 1301. But that is not the case here.
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Florida’s citizenship provision clearly does just that when the appropriate level of scru-

tiny is applied for the subcategories of noncitizens. In other words, Plaintiffs can’t show

that the provision is unconstitutional in all its applications as Salerno requires.

       Applied to permanent resident aliens, such a statute might well fail strict scrutiny,

as did the statutes in Sugarman v. Dougall, 413 U.S. 634 (1973), when applied to perma-

nent resident civil servants; in In re Griffiths, 413 U.S. 717 (1973), when applied to per-

manent resident lawyers; and Bernal v. Fainter, 467 U.S. 216, 224 (1984), when applied

to permanent resident notaries. But, again, the fact that some applications may be inva-

lid does not mean that Plaintiffs have met their “burden of proving that the law could

never be applied in a constitutional manner.” McGuire v. Marshall, 50 F.4th 986, 1003

(11th Cir. 2022). The as-applied challenge is different than the facial challenge.

       C. Regardless, for all aliens, even for permanent resident aliens, the political func-

tion exception to strict scrutiny applies to Florida’s citizenship provision and allows it

to pass constitutional muster. To be sure, “[b]eginning in 1971, the [Supreme] Court

has applied some variation of strict scrutiny to invalidate state laws affecting ‘resident

aliens’ or ‘permanent resident aliens.’” LeClerc, 419 F.3d at 416 (collecting cases). This

is because “restrictions on lawfully resident aliens that primarily affect economic interests are

subject to heightened judicial scrutiny,” but “strict scrutiny is out of place when the

restriction primarily serves a political function.” Cabell, 454 U.S. at 439 (emphasis added).

Applying strict scrutiny to political functions would result in the “abandon[ment] [of]

the general principle that some state functions are so bound up with the operation of
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the State as a governmental entity as to permit the exclusion from those functions of

all persons who have not become part of the process of self-government.” Id. at 439. It

would “obliterate all the distinctions between citizens and aliens, and thus depreciate

the historic value of citizenship.” Id. (quoting Foley, 435 U.S. at 295) (internal quotations

omitted). But determining whether an exclusion primarily affects economic interests or

political functions is “difficult to apply in particular cases.” Id. at 440.

       There’s a test, sort of. “First, the specificity of the classification will be examined:

a classification that is substantially overinclusive or underinclusive tends to undercut the

governmental claim that the classification serves legitimate political ends.” Id. (emphasis

added). “Second, even if the classification is sufficiently tailored, it may be applied in

the particular case only to persons holding state elective or important nonelective exec-

utive, legislative, and judicial positions”—to “those officers who participate directly in

the formulation, execution, or review of broad public policy and hence perform func-

tions that go to the heart of representative government.” Id. (citations omitted). For this

second step, the “language is far reaching and no limits on it were suggested by [prior

Supreme Court precedent].” Id. at 441 n.7. “Rather,” the courts must “look to the im-

portance of the function as a factor giving substance to the concept of democratic self-

government.” Id. While the most recent alienage case, Bernal, did say that the exception’s

“ambit” is “narrow,” it repeated the two-part test and said that the test merely “fo-

cus[es]” the “inquiry”—that the test isn’t exhaustive. 467 U.S. at 224.



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       Applied to specific cases, the results of the political function test are these: Ex-

cluding permanent resident aliens from being teachers serves a political function. Am-

bach v. Norwick, 441 U.S. 68, 80-81 (1979). So does excluding them from being cops.

Foley, 435 U.S. at 299-300. From being probation officers. Cabell, 454 U.S. at 447. From

serving on petit or grand juries. Cervantes v. Guerra, 651 F.2d 974, 980-81 (5th Cir. Unit

A July 1981) (citing Perkins v. Smith, 426 U.S. 913 (1976)). 4 And, most significantly, from

voting in any election, including local elections. Id. (citing Skafte v. Rorex, 430 U.S. 961

(1977)). Not so from being notaries. Bernal, 467 U.S. at 227-28. Or lawyers. In re Griffiths,

413 U.S. 717, 719-20 (1973). Or members of the New York civil service. Sugarman, 413

U.S. at 641-42.

       In this case, the Supreme Court’s non-exhaustive, two-part test is easily met. The

first part asks whether the citizenship provision is “substantially overinclusive or un-

derinclusive.” Cabell, 454 U.S. at 440. It’s neither. The provision isn’t substantially over-

inclusive because it applies only to those collecting or handling a U.S. citizen’s voter

registration application. Nor is it substantially underinclusive. True, postal workers and

state employees can handle voter registration forms without every postal worker or state

employee being a citizen. Doc.101 at 31-32. But 3PVROs are the only non-governmental

entities authorized to collect and handle these important governmental forms once some-

one completes them. No federal, state, or local government has any day-to-day insights


       4
        Cervantes is binding precedent on this Court under Bonner v. Prichard, 661 F.2d
1206, 1207 (11th Cir. 1981).
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into a 3PVRO’s hiring or firing practices, its training, or other safeguards when handling

a voter registration form. Treating those working for 3PVROs differently than those

working for the postal service, the DMV, or even the Department of State makes sense;

the provision isn’t “fatally underinclusive.” Bernal, 467 U.S. at 222.

       The second prong is met too. It asks whether an exclusion “implicate[s] respon-

sibilities that go to the heart of representative government.” Id. at 225. Considerations

include an assessment of whether the “nonelective” position at issue is “important” and

whether its holders “participate directly in the formulation, execution, or review of

broad public policy,” but “the actual function of the position” serves “as the dispositive

factor.” Id. at 222-23 (emphasis in original). It’s the actual function that mattered most

to the former Fifth Circuit in Cervantes when permanent resident aliens challenged the

exclusion of noncitizens from serving on or voting for the board of a local nonprofit.

Cervantes, 651 F.2d at 975. The nonprofit had a localized focus, wasn’t exactly a state or

federal entity, though it did receive federal funding and had local officials on its board,

and its board performed the government-like function of alleviating poverty in the area.

Id. at 976-77. The public function exception was still met because “voting in a public

election is always within the political functions exception.” Id. at 981.

       The one and only function at issue here is this: a 3PVRO “serves as a fiduciary

to the [citizen] applicant, ensuring that any voter registration application entrusted to

the organization, irrespective of party affiliation, race, ethnicity, or gender” is “delivered

to the [Department of State] or the supervisor of elections in the county in which the
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applicant resides” within a specified timeframe so that the citizen can qualify to cast a

ballot. Fla. Stat. § 97.0575(5)(a). 3PVROs (and those who work for them) are thus cogs

in the wheel of the election administration process. They are extensions of local election

officials, making it possible for eligible citizens to register to vote for upcoming elec-

tions. And elections are how citizens elect representatives of their choice to set policy

for the community. It follows that the State of Florida may require citizen-only fiduci-

aries for citizen-only applicants trying to register to vote. See generally U.S. Const., amend.

XV, § 1 (securing only the “right of citizens of the United States to vote”); Fla. Const.,

art. VI, § 2 (same). Or, borrowing from the precedential Fifth Circuit, “if the premise

of that doctrine is the right of the people to be governed by their citizen peers, arguably

every elective office ipso facto within its purview,” Cervantes, 651 F.2d at 981 (cleaned

up), and every step along the way of helping citizens elect citizen peers falls within the

political function exception as well. See id.; Bluman v. FEC, 800 F. Supp. 2d 281, 288

(D.D.C. 2011) (three-judge panel) (“We read these cases to set forth a straightforward

principle: It is fundamental to the definition of our national political community that

foreign citizens do not have a constitutional right to participate in, and thus may be

excluded from, activities of democratic self-government.”).

       II.    Florida’s retention provision has an understandable core and isn’t
              void for vagueness.

       A. The vagueness challenge to Florida’s retention provision must also fail. “A

statute can be impermissibly vague for either of two independent reasons. First, if it

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fails to provide people of ordinary intelligence a reasonable opportunity to understand

what conduct it prohibits. Second, if it authorizes or even encourages arbitrary and

discriminatory enforcement.” Hill v. Colorado, 530 U.S. 703, 732 (2000). A vague statute

involves not just points of imprecision or confusion, but “hopeless indeterminacy” and

“grave uncertainty.” Sessions v. Dimaya, 138 S. Ct. 1204, 1213-14 (2018). “Courts should

not lightly declare laws to be void for vagueness.” League of Women Voters, 66 F.4th at

946. “Facial vagueness occurs when a statute is utterly devoid of a standard of conduct

so that it simply has no core and cannot be validly applied to any conduct.” Id. (citation

omitted).

       Florida’s retention provision has an understandable core. It applies to any “per-

son collecting voter registration applications on behalf of a third-party voter registration

organization.” Fla. Stat. § 97.0575(7). And it prohibits these agents of the 3PVRO from

doing two things. The first is making “copies of a voter’s application,” which contains

sensitive personal information such as the driver license number, Florida identification

card number, last four digits of the social security number, and the voter’s signature.

Id.; see also Florida Voter Registration Form, https://files.floridados.gov/me-

dia/703131/dsde39-english-pre-7066-052120.pdf. The second, related prohibition is

on otherwise “retain[ing] a voter’s personal information, such as the voter’s Florida

driver license number, Florida identification card number, social security number, or

signature.” Fla. Stat. § 97.0575(7). But making copies of an application or retaining in-

formation is permissible to “provide such application or information to the third-party
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voter registration organization in compliance with [§ 97.0575],” i.e., to allow for the

3PVRO’s timely delivery of the application to the relevant election officials.

       The district court even “acknowledge[d]” “up front” that the “provision prohib-

its individuals who engage directly with voters and collect completed applications from

the voters from copying those completed applications for their own personal use.”

Doc.101 at 42. Still, the court went on to find the provision likely to be unconstitutional

because it doesn’t provide “a person of ordinary intelligence” the answers to three ques-

tions: “(1) to whom does the statute apply; (2) which information falls within its reach;

and (3) what is the person prohibited from doing.” Id. at 40. The district court got it

wrong. Read in context, the words in Florida’s retention provision provide ready an-

swers for all three questions.

       B. As to the first question, the provision applies to “a person collecting voter

registration applications.” Fla. Stat. § 97.0575(7). These are not people who merely so-

licit applications. We know this because the same statute, in another subsection, tells us

that soliciting is different than collecting. 3PVROs must register and provide to the

Department of State the “names, permanent addresses, and temporary addresses” “of

each registration agent registering persons to vote in this state on behalf of organiza-

tions.” Fla. Stat. § 97.0575(1)(c). But the registration requirement “does not apply to

persons who only solicit applications and do not collect or handle voter registration appli-

cations.” Id. (emphasis added) So a person who’s merely asking a passerby to fill out an

application—who’s soliciting—isn’t subject to the retention provision.
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       Nor is a person who’s only handling a voter registration application subject to the

retention provision once it’s been collected from a prospective voter. The statute, in var-

ious subsections, references both collecting and handling. Id. § 97.0575(1)(c), (1)(e),

(1)(f). In other instances, it refers to just collecting. Id. § 97.0575(4), (5)(a)3., (6), (7).

The two words thus have different meanings. The commonly understood meaning of

“collect” is “to gather” “from a number of persons.” Merriam-Webster’s Collegiate Diction-

ary 243 (11th ed. 2005). And the commonly understood meaning of “handle” is to

“manage with the hands.” Id. at 565. Read in the context within which it appears in

§ 97.0575, a person can “collect or handle voter registration applications,” Fla. Stat.

§ 97.0575(1)(c), though the collecting happens when a person gathers an application

from a prospective voter, and the handling happens when a person takes the steps nec-

essary to deliver the completed application to the appropriate election official. See id.

§ 97.0575(5)(a).

       Put another way, Florida’s retention provision applies to Roderica Cody of Hard

Knocks and Royal Sheperd of the Florida Democratic Party and Florida Rising when

they are canvassing—when they are collecting voter registration applications with a pro-

spective voter’s driver license number, social security number, and signature on it. And

it applies to Plaintiff, Esperanza Sanchez, when she’s collecting applications, though

not when she’s handling applications collected by others (perhaps to sort them by the

applicant’s county of residence) before delivering the applications to the relevant super-

visor of elections. See Doc.101 at 43 n.15 (discussing Plaintiff Sanchez).
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       C. The retention provision also reasonably defines the information that falls

within its reach: (1) making “copies [of] a voter’s application” and (2) “retain[ing] a

voter’s personal information, such as the voter’s Florida driver license number, Florida

identification card number, social security number, or signature.” Fla. Stat. § 97.0575(7).

       The first category is well-defined. It’s a completed voter registration form. See

Florida Voter Registration Form, https://files.floridados.gov/media/703131/dsde39-

english-pre-7066-052120.pdf. Among other things, the completed form itself will have

an applicant’s driver license number or Florida identification card number, the last four

digits of the applicant’s social security number, and the applicant’s signature. Id.

       The second category refers to “personal information” and then provides a list

preceded by “such as.” Fla. Stat. § 97.0575(7). This means the list is illustrative. See

generally Antonin Scalia & Bryan Garner, Reading Law 195 (2012) (discussing the associ-

ated-words canon). Only other, like items can be included. Id. And what’s the common

thread between the items included on the list? Each is exempt from disclosure under

Florida’s otherwise broad public records laws. See Fla. Stat. § 97.0585(1)(c), (2).

       More specifically, under Chapter 119 of the Florida Statutes, an applicant’s name,

address, date of birth, party affiliation, phone number, and email address are all public

records subject to disclosure. See Fla. Stat. §§ 119.01(1), 119.011(12); Voter Information as

a   Public    Record,   https://dos.myflorida.com/elections/for-voters/voter-registra-

tion/voter-information-as-a-public-record/. Anyone can request and obtain all this in-

formation because “[i]t is the policy of this state that all state, county, and municipal
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records are open for personal inspection and copying by any person.” Fla. Stat.

§ 119.01(1).

       Not so for “[t]he social security number, driver license number, and Florida

identification number of a voter registration applicant or voter,” because they are “con-

fidential and exempt” from Florida’s public records laws. Id. § 97.0585(1)(c). And “[t]he

signature of a voter registration applicant or a voter is exempt from copying require-

ments,” id. § 97.0585(2), though it can and must be made available for viewing. This is

because the signature serves as the means to assess whether a voter is who she says she

is when submitting a vote-by-mail ballot; whether a voter’s signature matches the out-

side of a vote-by-mail envelope is something that can be challenged in the canvassing

process open to representatives of the public. Id. § 101.68.

      In this way, Florida’s retention provision makes sense: It prevents people work-

ing for a 3PVRO from copying or retaining voter information they couldn’t ordinarily

get, and it allows people working for a 3PVRO to retain voter information they would

readily access under Florida’s broad public records laws. Recent experience from super-

visors up and down the State also confirms that jealously guarding this information

serves a purpose. Signatures, social security numbers, and the like are how supervisors

often identify suspected fraud from 3PVROs. See supra.

      D. Finally, the provision is clear as to “what” a “person” is “prohibited from

doing with” the personal information. Doc.101 at 40. Under the retention provision, “a

person collecting voter registration applications on behalf of a third-party voter
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registration organization” can’t “cop[y] a voter’s application or retain[] a voter’s personal

information” “for any reason other than to provide such application or information to

the third-party voter registration organization in compliance with this section.” Fla. Stat.

§ 97.0575(7) (emphasis added).

       The district court didn’t quibble with the meanings of “copy” and “retain.”

Doc.101 at 44-46. The court questioned the meaning of “to provide such application

or information to the [3PVRO] in compliance with this section.” Id. But then it pro-

vided an answer: “turning the applications over to the 3PVRO for delivery to the ap-

propriate elections official within the time afforded by the statute.” Id. at 44.

       The Department of State shared the same interpretation; after all, the whole

point of a 3PVRO is to deliver a prospective voter’s registration application to the rel-

evant election official in time for that prospective voter to get on the voter rolls and

cast a ballot. That’s the sum total of its fiduciary duty under Florida law. See supra. Con-

firming this understanding, the Department has proposed the following rule language:

       Each voter registration application contains a voter’s personal infor-
       mation that is not generally available to the public. For purposes of sec-
       tion 97.0575(7), F.S., a person collecting a voter registration application
       on behalf of a 3PVRO for the reason of providing such application (in-
       cluding the voter’s personal information contained therein) to the
       3PVRO shall be deemed to be “in compliance with this section” with re-
       spect to providing such application to the 3PVRO if the person:
              1. Provides such application to the 3PVRO and
              2. Does not retain such application after providing it to the
                 3PVRO.
Fla. Admin. Code 1S-2.042(5)(f).

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       The district court and the Department of State agreed on the meaning of “in

compliance with this section.” So this isn’t a situation where a “statute is so unclear as

to what conduct” is prohibited. Sistersong Women, 40 F.4th at 1327. The court neverthe-

less held that the retention provision is likely to be facially vague.

       E. The district court tried to find another ambiguity: The retention provision

“applies to individuals” “who collect such” personal “information,” but the provision,

according to the court, doesn’t appear to apply to individuals in the 3PVRO “chain of

custody” who “work together in various ways to collect voter registration applications.”

Doc.101 at 45.

       The district court then seized on other Department rule language; that proposed

rule language prevents 3PVROs, as organizations, “from copying voter registration ap-

plications or retaining certain voter information after they have delivered the applica-

tions to the appropriate elections official,” id. at 46:

       A 3PVRO serves as a fiduciary to an applicant whose voter registration
       application it collects. A 3PVRO may not retain an applicant’s voter reg-
       istration application (or the voter’s personal information contained
       therein) after promptly delivering it to the Division of Elections or the
       Supervisor of Elections in the county in which the applicant resides, nor
       may a 3PVRO use such application (or the voter’s personal information
       contained therein) for any purpose other than promptly delivering such
       application to the Division of Elections or the Supervisor of Elections in
       the county in which the applicant resides.

Fla. Admin. Code 1S-2.042(5)(g).

       This doesn’t change things. 3PVROs (and those who work for them) serve as

“fiduciar[ies]” to applicants. Fla. Stat. § 97.0575(5)(a). The retention provision applies
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to individuals who “engag[e] with voters in the community.” Doc.101 at 46. The rule is

a reasonable extension of both the retention provision and the fiduciary rule that applies

to 3PVROs as an organization. See, e.g., Fla. Stat. § 97.012(1), (2) (authorizing the Sec-

retary to maintain uniformity over the election and registration laws of the State). The

retention provision applies criminal penalties, while the rule only imposes administra-

tive penalties; the Department of State can’t prosecute offenses.

       In the end, the district court conflated a rule challenge with a statutory challenge.

The court didn’t appreciate that a rule can do more than a statute. See Fla. Stat.

§ 120.536(1) (“An agency may adopt . . . rules that implement or interpret the specific

powers and duties granted by the enabling statute.”). If the “more” is inconsistent with

the statute (which the district court suggests), the question becomes whether the agency

action was ultra vires—whether it exceeded the agency’s authority under Florida law.

State courts should answer that question. Pennhurst State Sch. & Hosp. v. Halderman, 465

U.S. 89 (1984). But the answer to that state law question a state agency’s authority says

nothing about the constitutionality of the retention provision. That provision has an

understandable core that’s anything but vague.

                                    CONCLUSION

       There are well-documented problems with 3PVROs. The Florida Legislature

chose a mix of policy options to address those problems. One mandates that only citi-

zens “collect” and “handle” voter registration for their citizen peers. True, this excludes

noncitizens from one activity that serves as a step for citizens to participate in elections.
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But that exclusion is constitutional. Also constitutional is the prohibition of copying or

retaining information otherwise unavailable under Florida’s broad public records laws.

This prohibition has an understandable core—one that furthers the State’s goal in elec-

tion integrity. The district court’s preliminary injunction to the contrary was thus in

error. This Court should reverse.




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                      CERTIFICATE OF COMPLIANCE

      This brief contains 7,714 words, excluding the parts that can be excluded. This

brief also complies with Rule 32(a)(5)-(6) because it’s prepared in a proportionally

spaced face using Microsoft Word 2016 in 14-point Garamond font.

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                          CERTIFICATE OF SERVICE

      I e-filed this brief on ECF, which will email everyone requiring notice.

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